Case o-25-/2050-aSt Doc l Filed Oo/Oo/2z5 Entered Vo/OU0/25 19/0/7560

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United States Bankruptcy Court for the: “29. BA (
ASTER! 1 BIS] C1
District of \
(State) 175
Case number (it known) Chapter / - 2 check it this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1, Debtor's name COlom bus | OS 5 ( Ory

 

2. All other names debtor used
in the last 8 years

 

 

 

Include any assumed names,
trade names, and doing business
as names

 

 

3. Debtor's federal Employer Kl _ S 0 3 ob) SS

Identification Number (EIN)

 

 

 

 

4. Debtor’s address Principal place of business Mailing address, if different from principal place
AZ of business
G59 _N: Colmbusee
Number Street Number Street
hr , I$ oO P.O. Box
City State ZIP Code City State ZIP Code

Location of principal assets, if different from

| a , principal place of business

County

 

 

Number Street

 

 

City State ZIP Code

5. Debtor's website (URL)

 

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Debtor

Colombus 0459 wre

Case number (if known),

 

 

Name

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

Official Form 201

SX corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

J Partnership (excluding LLP)
CJ other. Specify:

 

A. Check one:
CL} Health Care Business (as defined in 11 U.S.C. § 101(27A))

sie Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

C) Railroad (as defined in 11 U.S.C. § 1014(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 101(6))
Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

LJ None of the above

B. Check aif that apply:

QO Tax-exempt entity (as described in 26 U.S.C. § 501)

CL) investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)
L} Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avwww.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

2 chapter 7

Chapter 9
CJ Chapter 11. Check all that apply:

C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1){B).

CJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).
( A plan is being filed with this petition.

QO Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C} The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

L) The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

Q Chapter 12 ee

Voluntary Petition for Non-individuals Filing for Bankruptcy page 2

 
Case o-25-/2059-asl

Debtor

Doc. Fred Vo/Q0/2z5 Entered O0/U0/25 1LoiO/i50

Case number (:f known),

 

Name

9. Were prior bankruptcy cases (} No
filed by or against the debtor

within the last 8 years? Cl Yes.

lf more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases Mo
pending or being filed by a

business partner or an C1 Yes.

affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

District ke When Case number

MM/ DD/YYYY

District When Case number
MM/ DD/YYYY

Debtor Relationship

District When
MM / DD /YYYY

Case number, if known

 

11. Why is the case filed in this Check aif that apply:

district?

LJ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave [J] No

possession of any real Sa'ves.

property or personal property
that needs immediate
attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the property need immediate attention? (Check ail that apply.)

OQ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

L) It needs to be physically secured or protected from the weather.

C) it includes perishable goods or assets that could quickly deteriorate or lose vaiue without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options

fore AVE HON date, b/F/2043
Where is the sropertyo (PD a _ N) le colu {Y) Lys fk

 

Number Street
(reeporfe CON ACY
City State ZIP Code

Is the property insured?

No
CJ Yes. insurance agency

 

Contact name

 

Phone

 

aed Statistical and administrative information

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Case o-25-/2059-asl

Debtor

 

Narre

13. Debtor's estimation of Check one:

available funds

Case number (if known)

(J Funds will be available for distribution to unsecured creditors.

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After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

Dh-«9

14. Estimated number of J 50-99
creditors C) 100-199
C) 200-999
C) $0-$50,000

15. Estimated assets © $50.001-$100,000

ene
(2 $500,001-$1 million

C) $0-$50,000

UO) $50,001-$100,000

eee
$500,001-$1 million

head Request for Relief, Declaration, and Signatures

16. Estimated liabilities

{J 1,000-5,000
C) 5,001-10,000
C) 10,001-25,000

CJ} $1,000,001-$10 million

©] $10,000.001-$50 million
() $50.000,001-$100 million
J $100,000,001-$500 million

Q) $1,000,001-$10 million

C) $10,000,001-$50 million
CJ $50,000,001-$100 million
L} $100,000,001-$500 million

() 25,001-50,000
} 50,001-100,000
(J More than 100,000

(J $500,000,001-81 billion

L) $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
2 More than $50 billion

L) $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
(1 $10,000,000,001-$50 billion
L) More than $50 billion

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

~Jovus hor [fon

Execut

Official Form 201

7) MM 7 DD TYYYY _

x Ap >

_Sighatire of authoszed representative of debtor

fe < Title pres day tC

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Printed name

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Debtor Case number (if known).
Name

18. Signature of attorney x Date

 

Signature of attorney for debtor MM /DD /YYYY

Printed name

 

 

 

 

 

Firm name

Number Street

City State ZIP Code
Contact phone Email address

Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page §

 
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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

www.nyeb.uscourts.gov

 

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): CO Ory) Ly) S [\}. CA Sa Comp CASE NO.:

Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

 

|NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending ai
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouses; (iil,
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of eith:
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
| THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

1. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

» SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1] (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

» SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

 

CASE PENDING: (YES/NO): [Jf closed] Date of Closing:

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

» SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

* SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B™ OF

RELATED CASES:

 
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[OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [if closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “‘A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may nc
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

| am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except a
indicated elsewhere on this form. Y)

 

ae
L i
Signature of Pro-se Debtor/Petitioner

Mailing Address of Debtor/Petitioner

Lreapo-t VAN UY C2O

City, Staté, Zip Code ”

—~Tarnis he, Lr brown oP ela:

Email Address

GOK II UPS

Area Code and Telephone Number

 

Signature of Debtor’s Attorney

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or an}
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or

the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise

result.

 

 
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Patch of land lending LLC
po box 27370
anaheim, CA 92809

Patch of land lending llc
15000 ventura blvd
suite 300

sherman oaks, ca 91403

NASSAU COUNTY TAX ASSESOR

entered Vo/Oo/25 1Ls5'0/i50

 
